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                    EXHIBIT 200
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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS




    STATE OF TEXAS et al.,
    Plaintiffs

    vs.
                                                 Case Number 4:20-cv-00957
    GOOGLE LLC,
    Defendant




               EXPERT REBUTTAL REPORT OF DAVID W. DERAMUS, PH.D.



                                     September 9, 2024



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       II.A. Alternative approaches to determining monetary remedies
(21)   There are various approaches to determining monetary remedies in a litigation context, depending on
       the statute, the plaintiff, the defendants, and the claimed harm. One approach may be to calculate the
       benefits obtained by the defendant as a result of the conduct, such as in a                claim for the
       disgorgement of                    profits resulting from the infringement of the             patents. In
       other contexts, a plaintiff may seek recovery of their monetary damages. In a price-fixing case, for
       example, a plaintiff purchaser may have paid prices for a particular input that were elevated by the
       price-fixing agreement; thus, an appropriate measure of damages may be calculated by first
       estimating the price that the plaintiff                                                   , and then
       calculating the plaintiff s damages based on the amount of the price differential multiplied by the
                                          . In yet other contexts, a plaintiff may seek to recover the profits that

       issue, such as in the event of conduct that forced a plaintiff competitor to exit a relevant market and
       allowed the defendant to monopolize it. In yet other instances, such as in a contract-related dispute, a
       plaintiff may seek monetary relief based on the full rescission of the contract, with a complete
       repayment of all revenues paid by the plaintiff or monies received by the defendant.22

(22)   Note that a                enefit (e.g., the incremental profit earned by a chemical company from
       making a product) may not equal the harm to the plaintiff (e.g., the
       business if a chemical was defective) or to other parties (e.g., the physical harm to consumers exposed
       to a toxic chemical spill). Certain statutes may also allow for the recovery of a multiple of damages,
       such as treble damages in the case of certain antitrust violations, or punitive damages in other
       contexts.23 It is my understanding that the purpose of treble damages in the antitrust context, and to a
       certain extent punitive damages, is to deter the conduct at issue, both with regard to the defendant and
       other parties.24


       22
            For a general review of alternative approaches for calculating monetary remedies, see, e.g., Roman Weil, Daniel Lentz,
            and David Hoffman (eds.), Litigation Services Handbook: Role of the Financial Expert, John Wiley & Sons, Inc., 2012,
            Fifth Ed.; Hoboken, NJ, pp. 4.11 4.21.
       23
            See, e.g., Indiana Code § 24-5-0.5-4 (2023), which states that the court                                        deceptive
            act in an amount that does not exceed the greater of: (1) three (3) times the actual damages of the consumer suffering the
            loss; or (2) one thousand dollars ($1000)
                             Nevada Rev State § 598.0971 (2023), which
                                                                                 North Dakota Century Code § 51-15-09 (2023), which
                                                                                            , the court may order that the person
            commencing the action recover up to three times the actual damages proven South Carolina Code § 39-5-50 (2023),
            which                                                                                 in an action brought
                                                                                                                         ir or deceptive
                            Texas Code § 17.50 (2023), which similarly provides for treble damages                         . See also
            15 U.S.C. § 15 (2023) and 18 U.S.C. (1964) for examples of federal laws allowing for treble damages.
       24
            See, e.g., Steven C. Salop & Lawrence J. White, Economic Analysis of Private Antitrust Litigation, 74 GEO. L.J. 1001,
            1051 (1986). The Supreme Court
            (Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 635).



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       total amount of revenue paid to Google by advertisers. After accounting for traffic acquisition costs
       ( TAC ) and content acquisition costs ( CAC ), the potentially affected products generated total net
       revenue of                for Google over these years. With regard to the profitability of
       Tech business, I consider two alternative measures of profits: gross profit (which is net revenues less
       cost of goods sold); and operating profit (which is gross profit less other operating expenses,
       including sales, marketing, and general administrative expenses). 124 Gross profit can often be used to
       assess the incremental profits contributed by certain conduct, if that conduct leads to incremental
       revenue (e.g., by raising prices or diverting sales from a competitor) without also increasing the
       operating costs (e.g., without requiring additional marketing and sales efforts to obtain those higher
       prices or to compete for those additional sales from a competitor). From December 2013 to 2023, for
       its DVAA business, Google recorded total gross profit of                  and total operating profit of
                   .

       Figure 5: Google DVAA P&L




       Source: Andrien Report backup for Exhibit 2 (2013 2021). Skinner Report backup for Table 4B (2022 2023).
       Notes: [1] Includes Adsense for Content, AdX, Doubleclick Bid Manager, AdMob, Doubleclick for Publishers, AdServing, Ad
       Manager, AwBid, Display & Video 360, Campaign Manager, and Google Ads.
       [2] Since the earliest start date for a DTPA claim is November 11, 2013 for Bernanke,
                                                  .



(74)   Dr. Wiggins and Dr
       issue: AdX, Google Ads, and DV360.125 However, as discussed above, they do not explain why
       124
             See Andrien Report, Exhibit 2.
       125
                                                                                                                                   -
             transaction revenue, which is then used as an input to his per-violation penalty estimate. Wiggins Report, Table 2.




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                  revenues and profits associated with Ad Tech products would not have been affected, since
       they are integrated into the same digital advertising ecosystem. The excluded products AdMob,
       AdSense, and CM360 account for             of net revenue,     of gross profit, and     of operating
                                                       126
       profit for Google Display Advertising in       . A 2019 Google document regarding the DVAA
       P&Ls describes the
                                      127
       marketer-to-                       The same document also clarifies the linkages between the three
       products excluded by Dr. Wiggins and Dr. Skinner and the rest of the DVAA ecosystem. 128

(75)   Moreover, the scope of the affected volume of commerce by the conduct at issue could be much
       greater than                                                There are some types of products, and
       some types of conduct, for which it is straightforward to identify the volume of commerce affected by
       that conduct. For example, if a company CEO fraudulently misrepresents its financial performance in

       the trading of that
       contends that it tested the lamps to comply with a given standard (e.g., the UL standard), but it had
       not, then the affected volume of commerce is likely limited to the revenues from the sale of the lamps
       at issue. Here, however, the task is more complicated because of the interconnected nature of the
       products and markets. Since the core product at issue, AdX, is at the intersection of many different
       products and technologies, and it is the software that executes transactions that flow through other
       products (from which Google also generates profits), the volume of affected commerce is likely to be
       considerably greater than simply the amount of AdX booked revenue, and likely includes revenues
       from other Google Ad Tech products, as calculated above. Furthermore, given the integration of
       Google Ad Tech products into both its Ad Tech business serving third-party publishers and its sales
       of advertising on its own properties, as discussed above, the volume of affected commerce may
       extend beyond the Ad Tech revenues                                  advertising on its own properties,
       such as YouTube, Gmail, or Search.

(76)   Figure 6 compares the booked revenue of Ad Tech products
       segment reported in its 10-K filings. Booked revenues from
       provide a useful measure for the volume of commerce likely affected directly by the conduct at issue,
       because they consist primarily of advertising revenues generated from ads placed on Google Network
       Members properties through AdMob, AdSense, and Google Ad Manager (DoubleClick AdExchange


           Similarly, Dr.                                                -                            Report, ¶ 50 and
           Table 3.
       126
           See my backup materials for details.
       127
           GOOG-AT-MDL-001057220, at -7247.
       128
           See, e.g., GOOG-AT-MDL-001057220, at -7248 Advertiser uses DoubleClick Campaign Manager (DCM) to manage
           spend across multiple DSPs. Some of that money might then use DoubleClick Bid Manager (DBM) [now part of
           DV360] to purchase inventory via Ad Exchange (AdX) to buy an ad slot managed by DoubleClick for Publishers (in




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        Figure 15: Deterrent penalties based on present value of incremental profit
        profit margin, Bernanke in isolation (2013 and 2025 dollars)


                                                                        Profit-based deterrent penalty, using probability of detection:
                                                        Incremental
               Category                Scenario
                                                           profit
                                                                               33%                   20%                   10%
         Incremental Profit as
         of 2013
         Incremental Profit as
         of June 2025
        Source: Bloomberg, GOOG-DOJ-28385887 at -5895, Andrien Report backup for Exhibit 2 (2013 2021). Skinner Report
        backup for Table 4B (2022 2023).
        Notes: I calculate incremental profit as the product of the incremental annual revenue amount and the profit margin estimate
                                                                        My calculation of gross profit margin reflects Adsense for Content,
        AdX, Doubleclick Bid Manager, AdMob, Doubleclick for Publishers, AdServing, Ad Manager, AwBid, Display & Video 360,
        Campaign Manager, and Google Ads.



(115)   To provide context for these numbers, recall that Dr. Wiggins claims                estimated the
        incremental profits that Google would have earned due to the alleged deception about RPO, DRS v1,
                                                         205
                                                             And Dr. Wiggins goes further in arguing that none of
        the deceptive programs generated incremental profits for Google.206 Meanwhile, the Google-internal
        estimate (before the start of this litigation) is that in a single year, the incremental profit that Google
                                                                                               207
        earned as a result of the Bernanke program alone is approximately


        VI.D.3. Deterrent penalties based on expected ex ante combined value of
        Bernanke, DRS, and RPO programs

(116)   The above calculations do not take into account the additional expected benefits of the DRS and RPO
        programs. Accordingly, I further examine the impact on the above calculations of the deterrent
        penalty amount by incorporating the incremental revenues and profits expected from these programs.
        In estimating the expected benefits from the three programs collectively, even though the alleged
        conduct started at different times for the different programs, for ease of presentation, I first calculate
        the present value as of the end of 2013 and then bring the expected benefits forward to June 2025.208

(117)   Figure 16 shows that the present value of the expected revenues of the DRS, RPO, and Bernanke
        programs ranges from                to               in 2013 dollars and from         to
               in 2025 dollars. The incremental profit figures increase to between          and

        205
            Wiggins Report, ¶ 257.
        206
            Wiggins Report, ¶ 19.
        207
            Approximately              in annual revenue at profit rate of around   implies incremental profits of around
                    in a single year.
        208
            The RPO and DRS programs started in 2015 and the Bernanke program in 2013. See Andrien Report, ¶ 11.d. I use the
            2014 WACC for the present value calculations of benefits from the RPO and DRS programs, and the 2013 WACC for
            those from the Bernanke program.



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              in 2013 dollars and between         and              in 2025 dollars. Accounting for the
        probability of detection and enforcement increases the deterrent amounts to between                                         and
                      in 2013 dollars, and to between              and                in 2025 dollars.

        Figure 16: Deterrent penalties based on present value of incremental benefit across Bernanke, DRS, and
        RPO combined (2013 and 2025 dollars)


                                            Incremental    Incremental    Profit-based deterrent penalty, using probability of detection:
          Category          Scenario
                                              revenue         profit             33%                   20%                   10%
         Incremental
         benefit as
         of 2013
         Incremental
         benefit as
         of June
         2025
        Source: Bloomberg, GOOG-DOJ-28385887 at -5895, GOOG-AT-MDL-B-001114919, GOOG-DOJ-32280412 at -0447, Andrien
        Report backup for Exhibit 2 (2013 2021). Skinner Report backup for Table 4B (2022 2023).
        Notes: I calculate incremental profit as the product of each incremental annual revenue amount across the three programs and
                                                         -2023 period. My calculation of gross profit margin reflects Adsense for Content,
        AdX, Doubleclick Bid Manager, AdMob, Doubleclick for Publishers, AdServing, Ad Manager, AwBid, Display & Video 360,
        Campaign Manager, and Google Ads.



(118)   My analysis above focuses on the incremental benefits of the Bernanke, DRS, and RPO programs,
        which constitute a subset of the programs at issue in this matter. For example, my calculations do not
        consider the benefits Google derived from Dynamic Allocation and Enhanced Dynamic Allocation,
        which I understand led to higher win rates, and consequently higher revenue, for AdX while
        conversely lowering the win rates and revenue for non-Google exchanges. 209 The values I present in
        Figure 16 would likely be larger had I considered the benefits from other Google programs.


        VI.D.4. Deterrent penalties if ex ante expected benefits limited to 20 years

(119)   I have seen no information in the documents to indicate that Google expected the benefits from the
        programs at issue to be limited in time. Nonetheless, I evaluate the impact on the above calculations,
        if I were to assume that Google expected the benefits from these programs to only last for 20 years.

(120)   For brevity, I examine the impact on the lowest and highest of the above scenarios, i.e.: (i.) the first
        scenario above, limited to the benefits from Bernanke alone, using the DVAA profit margin, and
        assuming a 3% annual growth rate; and (ii.) the last scenario, which includes the benefits from the
        three programs at issue, and using a 5% annual growth rate. The results are shown in Figure 17, with
        the range of deterrent penalties ranging from $            to              in 2025 dollars.




        209
              Weinberg Report, ¶ 12.a.



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        remaining highly profitable, and in fact, becoming significantly more profitable and with its stock
        price continuing to rise considerably (its current stock price is more than 349% higher than it was in
        2017 when the first of the large EU fines was assessed).235

(133)   The necessity of a substantial penalty amount is corroborated by other enforcement actions in which
        smaller penalties have failed to deter misconduct by similarly large and highly profitable companies.
        For example, on August 24, 2021, the
                                                                          -
                                                                      236
        payments service, disallowing the use of third-party services. Rather than cease the conduct at
        issue, however, Apple instead continued to violate Dutch policy and was fined each week until the
                                                                                         237
        accrued fine grew                                                                    Because Apple
        continued the conduct at issue even as the fines were accumulating, the value of the conduct to Apple
        appears to have been substantially                                                        entirely
        insufficient as a deterrent.                                             , which had no impact on
                           was nearly three times higher than Dr            s proposed             lower bound
        penalty for Google in this matter.


        VII.B. Market reactions to           past penalties indicate that penalties
        below             are unlikely to deter similar conduct in the future
(134)   As discussed above, the appropriate deterrent penalty should consider the principal-agent problem

        share price, thereby offering little incentive for shareholders to monitor and deter misconduct. The
        penalty amount must therefore be substantial enough to have an adequate impact on the share price in
        order to incentivize shareholders to actively monitor and deter corporate misconduct.

(135)   To analyze the impact of previous investigations and penalties             stock price, I collect
        information on 48 instances where Google was subjected to a fine or settlement on account of its




        235
            Alphabet Inc., Form 10-K 2023, January 30, 2024, 34, 76.
            On June 27, 2017, the day the first major EU fine was announced, Google s stock price was $47.4 per share. By August
            23, 2024, the stock price had increased to $165.6 per share.
        236
            The Netherlands Authority for Consumers and Markets, Summary of decision on abuse of dominant position by Apple,
            August 24, 2021, 21, https://www.acm.nl/sites/default/files/documents/summary-of-decision-on-abuse-of-dominant-
            position-by-apple.pdf.
        237
            Ibid                                                         Reuters, October 2, 2023,
            https://www.reuters.com/technology/dutch-regulator-rejects-apples-objections-against-fines-2023-10-02/.



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   conduct.238 These penalties range between $25,000 and over $9.5 billion239 prior to any subsequent
   reductions made by courts upon appeal by Google.240 I identify 18 penalties imposed in the US, 18
   imposed in the EU, and 12 imposed in India, South Korea, Russia, Turkey, or Australia. For each of
   these 48 instances, I identify the date that the penalty was publicly announced. I am also able to
   identify the date on which the investigation was announced or the complaint was filed for 17
   instances.241 These 65 event days242 on which the investigation or penalties were initially publicly
   announced span from April 2, 2008 to March 20, 2024.243 To get a sense of the magnitude of these
   penalties, I calculated the standard deviation of                 stock returns for 2008 and 2023,
   which are 3.5 percent and 1.9 percent, respectively. These two years represent the first and the most
   recent full years during which I identified an investigation leading to a penalty. The average market
   capitalization of Google in these two years is $146 billion and $1,510 billion. Thus, the random

   238
       I referred to three main sources: (1) the Wiggins Report and Andrien Report, (2) regulatory agency press releases, and
       (3) third-party sources, including news articles reporting the event and databases such as the GDPR Enforcement tracker
       and the Good Jobs First Violation tracker. All sources were cross-checked with at least one other to ensure the accuracy
       of the information collected on the penalty. See CMS GDPR Enforcement Tracker
       https://www.enforcementtracker.com/. See also
       https://violationtracker.goodjobsfirst.org/.
   239
       As discussed above, on November 30, 2010, the European Commission opened an antitrust investigation into allegations
       that Google has abused a dominant position in online search. Subsequently, between 2017 and 2019, the European
       Commission imposed three fines on Google, amounting to a total of $9.5 billion. Google was fined $2.7 billion on June
       27, 2017, for alleged self-preferencing in Google Shopping searches; $5.1 billion on July 18, 2018, for alleged intentions
       to consolidate dominance in search on Android devices; and $1.7 billion on March 20, 2019, for alleged abuse of
       dominance in AdSense. I sum these three penalties to approximate the severity of the 2010 investigation, which is $9.5
       billion. In addition to the initial announcement in 2010, the European Commission made a separate announcement of the
       investigation on                                                            search on Android devices on April 15, 2015.
       There was a reduction of the $5.1 billion fine to $4.13 billion in 2022. I use the initial penalty in my analysis for all
       events. See
       release no. IP/10/1624, November 30, 2010, https://ec.europa.eu/commission/presscorner/detail/en/IP_10_1624. See
       also European Commission,
       by giving illegal advantage to own comparison shopping service news release no. IP/17/1784, June 27, 2017,
       https://ec.europa.eu/commission/presscorner/detail/en/IP_17_1784; See also European Commission, "Antitrust:
                                                                                                             no. IP/19/1770, March
       20, 2019, https://ec.europa.eu/commission/presscorner/detail/en/IP_19_1770; See also Satariano, Adam, "E.U. Scores
       Major Legal Victory Against Google," New York Times, September 14, 2022,
       https://www.nytimes.com/2022/09/14/business/eu-google-antitrust-fine.html.
   240
       For Google s prior penalties that I obtained from the Wiggins Report and Andrien Report, I used the penalty size
       provided by them unless the penalty had previously been announced at a larger size and later reduced by a court upon
       appeal by Google. In all other cases, I used the official penalty size as reported in press releases or the first news article
       which I could find reporting on the event. I convert the penalty to U.S. dollar using the exchange rate on the day that the
       penalty was publicly announced if the original penalty size was in a foreign currency.
   241
       As discussed above, on November 30, 2010, the European Commission opened an antitrust investigation into allegations
       that Google has abused a dominant position in online search. On April 15, 2015, the European Commission announced a
       separate investigation                  illegal use of its Android mobile operating system to impose restrictions on Android
       device manufacturers, effectively funneling users toward the Google search engine, which appears to be a continuation
       of the 2010 investigation. I combine the Google stock returns on both days in my analysis.
       I have not identified the date of the public announcement for some investigations because there was no public
       announcement until the penalty was publicly declared, or because there is no announcement available in an English-
       language source. This includes both official translations on the regulatory agency s website and reports from third-party
       sources.
   242
       There are 48 event days of announcement of penalty and 17 event days of start of investigation.
   243
       See my backup materials for details.



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        shocks equivalent to one standard deviation change to                     s in these two years
        translate to a change of $5 billion and $29 billion                               , respectively. As
        this comparison makes clear, the past penalties imposed on Google have been small compared to the
        many other factors

(136)   For each of these events, I conduct an event study in which                       stock return, net of
        the S&P 500 return, for each of the ten trading days before and after each event day, e.g., the public
        announcement of the investigation or the penalty.244 Specifically, for each trading day surrounding the

        share price from the previous
                                                                                            245
                                                                                 Additionally, to analyze the
                                                                                                     adjusted
        stock returns on all trading days except the event days included in the analysis.

(137)   Figure 20                                                             48 event dates when penalties
        were publicly announced, spanning from ten trading days before to ten trading days after each event
        date. The fluctuations            adjusted stock returns primarily remain within one standard
        deviation from the average, and are mostly contained within two standard deviations.246 Also, there is

        day. This consistent pattern indicates that the stock returns do not experience additional significant
        volatility due to the penalties announced on the event days. Therefore, the analysis indicates that these




        244
            When the event day falls on a non-trading day, I adjust the event day to the closest subsequent trading day.
        245
            The S&P 500 is an index that gauges the performance of the U.S. stock market. It monitors the share prices of the 500
            largest publicly traded companies in the U.S. and represents approximately 80% of the total market value of all publicly
            traded stocks. See "What Does the S&P 500 Index Measure and How Is It Calculated?" Investopedia, accessed
            September 6, 2024, https://www.investopedia.com/ask/answers/040215/what-does-sp-500-index-measure-and-how-it-
            calculated.asp.
        246
                                                                                                                         day. On
            October 25, 2022, the event day, Google announced third-quarter earnings that fell short of expectations in terms of both
            revenue and net income, which likely contributed to the subsequent drop in its stock value. Similarly, the light blue line
            indicates the same decline four trading days after the event day, which is also one day after October 25, 2022. See
            Capoot, Ashley, "Alphabet just had its worst day since March 2020, when Covid shutdowns started in the U.S.," CNBC,
            October 26, 2022, https://www.cnbc.com/2022/10/26/alphabet-stock-falls-after-disappointing-earnings-report.html.

              released third-quarter earnings Tuesday that missed on the top and bottom lines. The company reported its weakest
              quarter of growth since 2013 except for one other period early in the coronavirus pandemic. Revenue growth slowed to
                                                                                                                          Similarly,
                                                                                                                           On
              February 8, 2023, the day before the event day,
                                                                                                                            and the
              event day. See Olson, Emily, "Google shares drop $100 billion after its new AI chatbot makes a mistake," NPR,
              February 9, 2023, https://www.npr.org/2023/02/09/1155650909/google-chatbot--error-bard-shares.
              company, Alphabet, lost $100 billion in market value on Wednesday after its new artificial intelligence technology




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        prior penalties have had a minimal                                         providing little incentive
        for shareholders to actively engage in monitoring and deterring corporate misconduct.

        Figure 20: Google stock return net of S&P 500 over ten trading days before and after each penalty date




        Source: Bloomberg.
        Note: The green dashed lines represent plus and minus one standard deviation, and plus and minus two standard deviations
        from the sample mean of adjusted stock returns, calculated using all trading days except for the event days included in this
        analysis.



(138)   Figure 21 below shows                          net of the S&P 500 return, for the 48 days when a
        penalty was publicly announced. The size of each bubble corresponds to the initial
        magnitude. This figure indicates no evident correlation between the size of the penalties and their
                                         , which remains relatively consistent over time. The figure also



        fall within one standard deviation, and all but two are within two standard deviations. One exception
        occurred on February 9, 2023, as I explained above,
        new artificial intelligence technology produced a factual error in its debut demonstration one day
        before the event day.247
        247
              See Olson, Emily, "Google shares drop $100 billion after its new AI chatbot makes a mistake," NPR, February 9, 2023,
              https://www.npr.org/2023/02/09/1155650909/google-chatbot--error-bard-shares.




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    stock return on that day. Another exception occurred on April 13, 2012. One day before that, Google
    announced a contentious stock split that enabled the company to issue new shares without diluting the
    voting power of its founders.248 This move raised concerns among corporate governance watchdogs
    and frustrated some investors, contributing to the drop.249 Considering the very small penalty of
    twenty-five thousand dollars imposed on Google at that time, it is highly unlikely that the penalty
    itself was the primary cause of the decline. Given that the                                      returns
    predominantly fall within the normal range expected from random fluctuations, the figure indicates
    that these penalties have had a
    incentive for shareholders to actively monitor and deter corporate misconduct.




        lost $100 billion in market value on Wednesday after its new artificial intelligence technology produced a factual error
                            .
    248
        See Richard Davies,                                   ABC News, April 13, 2012,
        https://abcnews.go.com/blogs/business/2012/04/googles-stock-split-surprise.
    249
        See                                Financial Post, April 13, 2012, https://financialpost.com/news/google-falls-on-share-
        plan.



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        Figure 21: Google stock return net of S&P 500 on the penalty days (bubble size corresponds to the
        amount of penalty)




        Source: Bloomberg.
        Note: The green lines represent plus and minus one standard deviation, and plus and minus two standard deviations from the
        sample mean of adjusted stock returns. The standard deviation is calculated based on the adjusted stock returns from ten
        trading days before and after each event excluding the event days, encompassing all events included in this analysis.



(139)   For 17 of these event studies, I was also able to identify the day when the investigation was
        announced (which ultimately resulted in the penalty). At that point, there may already have been a
        stock market response, and the full impact may be considered to be equal to the sum of the stock
        return when the investigation was announced and the stock return when the penalty (and other
        remedies) were announced. Figure 22, below, replicates the above event analysis, where the relevant
        event dates are now the combination of the announcements of the investigation and the penalties.
        Thus, I sum                      stock returns on both days for each event.250 As above, the fluctuations

        and are mostly contained within two standard deviations. 251 Also, there is no noticeable change in the

        250
            As I have explained above, there are five dates associated with the                                          f Google
            Search: (1) the initial start of investigation day on November 30, 2010; (2) the follow-up announcement of investigation
            into Android operating system on April 15, 2015; and (3) the three dates that penalties were announced publicly on June
            27, 2017, July 18, 2018, and March 20, 2019. I combine                                    on these five days for this event
            in the analysis.
        251
            The dark red                                                                                                      As I




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        indicates that the stock returns do not experience significant additional volatility due to the penalties
        announced on the event days.

        Figure 22: Google combined stock return net of S&P 500 on both the start of investigation date and
        penalty date over ten trading days before and after the event date for eligible lawsuits




        Source: Bloomberg.
        Note: The green dashed lines represent plus and minus one standard deviation, and plus and minus two standard deviations
        from the sample mean of combined adjusted stock returns, calculated using all trading days except for the event days included
        in this analysis.



(140)   Similarly, I have replicated the bubble chart analysis above with             combined adjusted stock
        returns on the 17 events that include both the start of investigation date and penalty date.252 Figure 23,
        below, shows that the combined adjusted stock returns for nearly all events are of modest magnitude,
        remaining within one standard deviation of typical daily fluctuations. The one noticeable exception is


              explained above, o

              return on that day and the event day. See Olson, Emily, "Google shares drop $100 billion after its new AI chatbot makes
              a mistake," NPR, February 9, 2023, https://www.npr.org/2023/02/09/1155650909/google-chatbot--error-bard-shares.


        252
              As explained above                                          s on the five days associated with the European
                                          into Google search announced in late 2010.



                                                                                                                             Page 77
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                                                     Google Search announced in late 2010, which led to a
    total penalty of $9.5 billion. The combined adjusted return of the five associated event dates is -3.8%.
    In particular, on November 30, 2010 the day the initial investigation into allegations that Google has
    abused a dominant position in online search was announced                                          dropped
                                                     253
    by 3.9%, marking a highly unusual deviation. Several news articles at the time linked this
                                                                                           .254 The other
    outlier in the bottom right of the figure is likely due to the factual error made in the debut
                                 AI product, as discussed above.

    Figure 23: Google combined stock return net of S&P 500 on both start of investigation date and penalty
    date (date corresponds to the start of investigation; bubble size corresponds to the amount of penalty)




    Source: Bloomberg.
    Note: The green lines represent plus and minus one standard deviation, and plus and minus two standard deviations from the
    sample mean of combined adjusted stock returns. The standard deviation is calculated based on the combined adjusted stock
    returns from ten trading days before and after each event excluding event days, encompassing all events.



    253
        Out of the 504 trading days in 2010 and 2011, there are only three trading days with a lower adjusted return than
        November 30, 2010. See my backup materials for details.
    254
        See Pepitone, Julianne, "Stocks end November with a whimper," CNN Money, November 30, 2010,
        https://money.cnn.com/2010/11/30/markets/markets_newyork/index.htm. (
        down more than 4.5% after the European Commission said it will investigate whether the Internet search company
                                    See also Jordans, Frank, "Tagged in a photo without consent? Europe watchdogs take up fight;
        regulators' probes set the stage for battle with Facebook, Google over protecting users' rights." Mercury News, March
        25, 2010, https://www.mercurynews.com/2010/11/30/european-authorities-investigating-whether-google-gave-its-
        services-search-preference/. See also "EU sets up antitrust probe of how Google works," Pioneer Press, November 12,
        2015, https://www.twincities.com/2010/11/30/eu-sets-up-antitrust-probe-of-how-google-works/.



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(141)   These results indicate that, with the exception of EC investigation that resulted in penalties of $9.5
        billion (and associated remedies),255 none of the other penalties (and associated remedies) were large

                                                               The conclusion I draw is not that there are no
        stock market responses to these penalties (and associated remedies), but rather that if there are such
        responses, they are so small that they are indistinguishable from all the other factors that result in
                                             and thus unlikely to induce shareholders to force managers to
        change their future conduct. When the European Commission first announced the investigation, it
        introduced significant uncertainty into the market regarding Google

        business, may have reacted negatively, leading to a drop in stock price. By the time the European
        Commission announced the actual penalty, the market may have already priced in the anticipated
        outcomes of the investigation. This means investors had enough time to evaluate the potential risks
        and adjust their positions accordingly. As a result, the actual penalty announcement may not have had
        a significant additional impact simply because the expected information was already reflected in the
        stock price. Thus, the size of the total penalties is a reasonable proxy of the severity of the
        investigation when it was initially announced.

(142)   Considering that the penalties were imposed in 2017, 2018, and 2019, and given the significant

                                                                as the initial announcement of the
        investigation by the European Commission in late 2010 for 2025 using various methods.

(143)   First, I compute the inflation-adjusted penalty imposed by the European Commission by using the
        projected inflation rates for each year from when the penalty was announced until June 2025, the
        earliest date on which I assume a penalty would be imposed on Google in this case. 256 Thus, as of
        June 2025, a deterrent penalty imposed in this matter would need to be at least             to be
        consistent with the total inflation-adjusted value of the penalty previously imposed by the European
        Commission, which is a value that may
        price.257




        255
            For example, the European Commission has placed injunctions against illegal restrictions on Android device
            manufacturers and mobile operators. It has also placed injunctions against self-preferencing own comparison shopping
            service in search results. See
            dominance regarding Android devices," news release, July 18, 2018,
            https://ec.europa.eu/commission/presscorner/detail/en/IP_18_4581.
        256
            The (projected) inflation rates in the U.S. are downloaded from Statista. See
                                                          April 2024, https://www.statista.com/statistics/244983/projected-inflation-
            rate-in-the-united-states/.
        257
            See my backup materials for details.



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(144)   I note, however, that this                   value likely underestimates the size of the penalty required to

        since the time the European Commission penalty was announced. I address this in two alternative
        ways. First,                                                     for each year from when the
        European Commission penalty was announced until June 2025.                                   as an
        approximation of its WACC in 2025. This results in a WACC-adjusted penalty value as of June 2025
        of              .258

(145)   Second, I recalibrate each of the European Commission penalties
        market capitalization on August 29, 2024, the most recent day with available market capitalization
        data, to its market capitalization on the dates when each penalty was initially announced. I expect that
        the impact of a given                                                                 total market

                                penalties, it is thus reasonable to scale that penalty to be consistent with
                                                 Using this adjustment suggests that a penalty of
        would be needed to have the same relative
        Commission penalties of $9.5 billion.259

(146)   Thus, I conclude that penalties of between             and             , and likely even higher as
        explained above, would likely be necessary to create a sufficient impact on Google
        ensure that shareholders, not only of Google but also of other similarly situated companies, deter
        management from engaging in such conduct in the future.



        VIII. Penalties of          would not impair or disrupt
                  finances or operations
(147)   In his report, Dr. Wiggins claims        m                      overall financial performance are not
        relevant for assessing penalties related to the alleged deception. 260 Dr. Skinner similarly questions
        the relevance of Mr. Andrien
        advertising business.261 Dr. Skinner also takes issue with Mr. Andrien conclusion that a hypothetical
                                                                                                      -to-day




        258
            See my backup materials for details.
        259
            See my backup materials for details.
        260
            Wiggins Report, § VIII.B.
        261
            Skinner Report, ¶ 59 and § IX; It makes no difference whether the analysis is of Google or Alphabet because in 2023
            Google accounted for 99% of              revenue and over 100% of its profits as other revenue streams operate at a loss.
            S&P Capital IQ. See my backup materials for details.



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